Case 9:21-cv-81425-DMM Document 9 Entered on FLSD Docket 09/24/2021 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 21-81425-CV-MIDDLEBROOKS

  NELSON FERNANDEZ,

         Plaintiff,

  v.

  ECJ LUXURY COLLECTIONS II, LLC,

        Defendant.
  _____________________________________/

                                     ORDER CLOSING CASE

         THIS CAUSE comes before the Court on Plaintiff’s Notice of Voluntary Dismissal With

  Prejudice, filed September 23, 2021. (DE 8). Pursuant to Rule 41(a) of the Federal Rules of Civil

  Procedure, a plaintiff may voluntarily dismiss an action by filing a notice of dismissal before the

  opposing party serves either an answer or a motion for summary judgment. See Fed. R. Civ. P.

  41(a)(1)(A)(i). Defendant has served neither. Accordingly, it is:

         ORDERED AND ADJUDGED that this case is DISMISSED WITH PREJUDICE. The

  Clerk of Court shall CLOSE THIS CASE. All pending motions are DENIED AS MOOT.

         SIGNED in Chambers, at West Palm Beach, Florida, this 24th day of September, 2021.




                                                              Donald M. Middlebrooks
                                                              United States District Judge

  cc:    Counsel of Record
